Case 2:19-cv-00077-Z-BP           Document 134         Filed 03/26/25        Page 1 of 19       PageID 3392


                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                       AMARILLO DIVISION

    IRA DARLINA BAKER, et al.,

                Plaintiffs,

    v.                                                              2:19-CV-077-Z-BP

    RICHARD KEITH COBORN, et al.,

                Defendants.

                              MEMORANDUM            OPINION AND ORDER

           Before the Court are Defendants’ Objections (ECF Nos. 124, 125), filed February 12, 2025, to

   the Magistrate Judge’s Findings, Conclusions, and Recommendations (ECF No. 123) for the disposition

   of Defendants’ Second Motion for Summary Judgment (ECF No. 96). In the first Objection, Defendants

   object to several factual and legal opinions in the Magistrate Judge’s Findings, Conclusions, and

   Recommendation.      ECF No.    124. In the second, they further object to the Magistrate Judge’s

   recommendation to overrule Defendants’ objection to Plaintiffs’ summary judgment evidence. ECF

   No. 125. After considering the Magistrate Judge’s Findings, Conclusions, and Recommendation, the

   relevant law, and the briefing, the Cour. OVERRULES          Defendants’ Objections and ADOPTS the

   Magistrate Judge’s Findings, Conclusions, and Recommendation. Accordingly, Defendants’ Second

   Motion for Summary Judgment at ECF No. 96 is DENIED.

           BACKGROUND

           Defendant Officers Richard Coborn and Michael McHugh (“Defendants”) fired shots at Darion

   Baker (“Baker”) in an incident where the Defendants attempted to stop Baker, but he fled in a stolen

   vehicle. Two of the shots hit Baker. One killed him. The factual details of the incident have been relayed
Case 2:19-cv-00077-Z-BP          Document 134          Filed 03/26/25       Page 2 of 19        PageID 3393


   in detail in previous opinions. See ECF No. 65 at 1-6; ECF No. 75 at 2, 4-7; Baker v. Coborn, 68 F.4th

   240, 242-44 (5th Cir. 2023). Thus, the Court need not recount them in more detail here.

           Ira Darlina Baker, individually and as administratrix of Baker’s estate, along with other

   plaintiffs (together, “Plaintiffs”) sued Defendants under 42 U.S.C. Section 1983 for excessive force

   resulting in Baker’s death. This Court initially granted summary judgment in favor of Defendants. ECF

   No. 75, 76. The Fifth Circuit affirmed in part, reversed in part, and remanded. Baker, 68 F.4th at 251.

   In its opinion, the Fifth Circuit held that the Defendants were entitled to qualified immunity as to the

   shots fired “while Coborn was standing in front of the stationary vehicle.” /d, at 245. And it held that

   Defendants were not entitled to summary judgment for the shots fired “when the sedan began to move

   away from Coborn.” /d. They were not entitled to summary judgment because Plaintiffs “established

   genuine disputes of material fact regarding whether the officers’ use of force was excessive and

   objectively unreasonable” for that second round of shots. /d. at 251. The Fifth Circuit did not express a

   view on whether Defendants were entitled to qualified immunity for the shots fired “when the sedan

   began to move away from Coborn.” /d. at 245, 251 & n.11.

           After both sides provided supplemental or amended expert evidence, Defendants again moved

   for summary judgment. ECF Nos. 91, 92, 95, 96. They argued two bases for summary judgment. First,

   they argued that Coborn did not seize Baker under the Fourth Amendment because he did not fire the

   fatal shot. ECF No. 97 at 11-12. Second, they claim they are entitled to qualified immunity for the

   second round of shots fired after the “sedan began to move away from Coborn.” Baker, 64 F.4th at 245;

   ECF No. 97 at 14. Plaintiffs argue the Fifth Circuit’s opinion identified fact issues that this Court may

   not now dismiss, and that qualified immunity would be inappropriate because the law was clearly

   established at the time of the incident that officers could not exercise deadly force against a fleeing
Case 2:19-cv-00077-Z-BP            Document 134         Filed 03/26/25        Page 3 of 19      PageID 3394


   person because he did not present an immediate threat. ECF No. 103 at 6; See, e.g., Lytle v. Bexar Cnty.,

   560 F.3d 404 (5th Cir. 2009).

             This Court referred Defendants’ second motion for summary judgment to the Magistrate Judge

   for Findings, Conclusions, and Recommendations on October 30, 2024. ECF No. 117. The Magistrate

   Judge presented his Findings, Conclusions, and Recommendation on January 29, 2025, in which he

   recommended that this Court overrule Defendants’ objection to Plaintiffs’ summary judgment evidence

   at ECF No. 108 and that this Court deny Defendants’ second motion for summary judgment. ECF

   No. 123. The Magistrate Judge found that, when viewed in the light most favorable to Plaintiffs, whether

   Coborn seized Baker under the Fourth Amendment should be decided at trial. /d. at 7. Further, the

   Magistrate Judge found that the law was clearly established at the time of Baker’s death that qualified

   immunity did not protect law enforcement officers when they fire at fleeing people in a vehicle after an

   imminent risk of serious bodily harm had passed. /d. at 10 (first citing Lytle, 560 F.3d 404; then citing

   Flores v. City of Palacios, 381 F.3d 391 (Sth Cir. 2004); then citing Edmond v. City of New Orleans,

   No. 93-3602, 1994 WL 144782 (Sth Cir. Apr. 7, 1994); then citing White v. Balderama, 153 F.3d 237

   (5th Cir. 1998); and then citing Mason v. Lafayette City-Par. Consol. Gov't, 806 F.3d 268 (Sth Cir.

   2015)).

             Defendants objected twice. Their first presented three specific objections: First, they objected

   “to the Magistrate Judge’s failure to find that the second round of shots were fired ‘when the sedan

   began to move away from Coborn.’”” ECF No. 124 at 5. Second, they objected that the “law was clearly

   established” at the time of the shooting because they believe the Magistrate Judge ‘“‘defined [it] at an

   impermissibly high level of generality.” /d. Third, they objected “to the Magistrate Judge’s conclusion

   that a factual dispute exists regarding which officer seized Baker.” Jd at 8. Their second objection
Case 2:19-cv-00077-Z-BP          Document 134             Filed 03/26/25       Page 4 of 19        PageID 3395


   merely objected to the Magistrate Judge’s recommendation that their previous objection to Plaintiffs’

   additional summary judgment expert evidence be overruled. ECF No. 125.

           LEGAL STANDARD

           I. Objections to a Magistrate Judge’s Recommendation on a Dispositive Order

           After a magistrate judge serves a copy of his findings and recommendation on both parties, a

   party “may serve and file specific written objections to the proposed findings and recommendations”

   within 14 days. FED. R. Civ. P. 72(b)(2). At that point, the “‘district judge must determine de novo any

   part of the magistrate judge’s disposition that has been properly objected to.” FED. R. Civ. P. 72(b)(3);

   see also Davidson v. Ga.-Pac., L.L.C., 819 F.3d 758, 762 (Sth Cir. 2016) (“{R]ulings by a magistrate

   judge on dispositive matters—motions to dismiss and for entry of summary judgment being the

   common examples—are mere recommendations subject to de novo review when properly challenged

   by the losing party.”) (citing 28 U.S.C. § 636(b)(1)). The district judge “may accept, reject, or modify

   the   recommended    disposition”   based   on   his   review   of the   magistrate   judge’s   findings   and

   recommendation. FED. R. Civ. P. 72(b)(3).

           II. Summary Judgment

           Summary judgment is appropriate if the movant shows there is no genuine dispute of

   material fact, and the movant is entitled to judgment as a matter of law. FED. R. Civ. P. 56(a). The

   moving party bears the initial burden of demonstrating both. See Celotex Corp. v. Catrett, 477 U.S.

   317, 322 (1986). A genuine dispute of material fact exists if “the evidence is such that a reasonable

   jury could return a verdict for the non-moving party.” Anderson v. Liberty Lobby, Inc., 477 U.S.

   242, 248 (1986). A fact dispute is material if it would affect the suit’s outcome under the governing

   law. Jd. “The movant bears the burden of identifying those portions of the record it believes

   demonstrate the absence of a genuine issue of material fact.” Triple Tee Golf, Inc. v. Nike, Inc.,
Case 2:19-cv-00077-Z-BP           Document 134          Filed 03/26/25        Page 5 of 19       PageID 3396


   485 F.3d 253, 261 (Sth Cir. 2007) (citing Celotex Corp., 477 U.S. at 322-25). The court views

   evidence for summary judgment in the light most favorable to the party opposing summary

  judgment. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). The

   court draws all reasonable factual inferences in favor of the nonmovant. Galindo v. Precision Am.

   Corp., 754 F.2d 1212, 1216 (Sth Cir. 1985). But to establish a true controversy, the nonmovant

   must show more than “some metaphysical doubt as to the material facts.” Little v. Liquid Air Corp.,

   37 F.3d 1069, 1075 (Sth Cir. 1994) (quoting Matsushita, 475 U.S. at 586). The nonmovant may

   not rely on “conclusory allegations,” 99 6. “unsubstantiated assertions,” or “only a scintilla of evidence”

   to create a factual dispute and preclude summary judgment. /d. (internal quotations omitted).

           III. Qualified Immunity

           Qualified immunity alters the typical summary judgment standard. Baker, 68 F.4th at 244

   (citing Brown v. Callahan, 623 F.3d 249, 253 (Sth Cir. 2010)). If an official raises a qualified

   immunity defense, the “moving party is not required to meet its summary judgment burden for a

   claim of immunity.” Hathaway v. Bazany, 507 F.3d 312, 319 (Sth Cir. 2007) (quoting Cousin v.

   Small, 325 F.3d 627, 632 (5th Cir. 2003)).         If an official claims the protection of qualified

   immunity, the burden shifts to the plaintiff to rebut the evidence by showing a genuine fact issue

   regarding whether the official violated clearly established law. Brown, 623 F.3d at 253.

           Qualified immunity protects government officials from liability if their conduct did not

   violate clearly established statutory or constitutional rights that a reasonable officer would have

   known about. Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). Qualified immunity requires a

   two-part inquiry: A court determines “whether an official’s conduct violated a statutory or

   constitutional right of the plaintiff’ and “whether the right was ‘clearly established’ at the time

   of the violation.” Saucier v. Katz, 533 U.S. 194, 200-01 (2001).
Case 2:19-cv-00077-Z-BP            Document 134           Filed 03/26/25         Page 6 of 19        PageID 3397


           A right is clearly established when “the contours of the right [are] sufficiently clear [such]

   that a reasonable official would understand that what he is doing violated that right.” Wernecke

   v. Garcia, 591 F.3d 386, 392 (Sth Cir. 2009). The “very action in question” must have been

   previously held unlawful. Anderson          v. Creighton, 483       U.S. 635, 640 (1987). “Where           no

   controlling authority specifically prohibits a defendant’s conduct, and when the federal circuit

   courts are split on the issue, the law cannot be said to be clearly established.” Morgan v. Swanson,

   659 F.3d 359, 372 (Sth Cir. 2011). Qualified immunity protects all but “the plainly incompetent

   or those who knowingly violate the law.” Anderson, 483 U.S. at 641. Thus, qualified immunity

   is appropriate if the officer’s “conduct was objectively reasonable in light of the legal rules that

   were clearly established at the time of his or her actions,” no matter if the plaintiff’s constitutional

   right ended up violated. McClendon v. City of Columbia, 305 F.3d 314, 323 (Sth Cir. 2002). “The

   defendant’s acts are held to be objectively reasonable unless all reasonable officials in the

   defendant’s circumstances would have then known that the defendant’s conduct violated” the

   plaintiff's rights. Thompson vy. Upshur Cnty., 245 F.3d 447, 457 (Sth Cir. 2001).

           IV. Expert Evidence

           Federal Rule of Evidence 702 governs the admissibility of expert evidence. It states that a

   witness qualifying as an expert because of his “knowledge, skill, experience, training, or education” can

   offer evidence if it is “more likely than not that” the expert’s (1) “scientific, technical, or other

   specialized knowledge will help the trier of fact to understand the evidence or to determine a fact in

   issue,” (2) “the testimony is based on sufficient facts or data,” (3) it is “the product of reliable principles

   and methods,” and (4) the expert’s opinion “reflects a reliable application of the principles and methods

   to the facts of the case.” FED. R. EviD. 702. The evidence’s proponent has the burden “to establish its

   admissibility by a preponderance of the evidence.” Am. Can! v. Arch Ins. Co., 597 F. Supp. 3d 1038,
Case 2:19-cv-00077-Z-BP           Document 134         Filed 03/26/25        Page 7 of 19        PageID 3398


   1044 (N.D. Tex. 2022). The proponent need only demonstrate that the expert is “qualified and the

  testimony is relevant and reliable.” Jd. (citing Moore v. Ashland Chem., Inc., 151 F.3d 269, 276 (Sth

   Cir. 1998)).

           The district court has discretion whether to admit expert witness testimony. Kumho Tire Co. v.

   Carmichael, 526 U.S. 137, 152 (1999). The court has “considerable flexibility in assessing the reliability

  of expert testimony.” Equal Emp. Opportunity Comm’n v. Mod. Grp., Ltd., 725 F. Supp. 3d 644, 660-

   61 (E.D. Tex. 2024) (citing Kumho, 526 U.S. at 141). Courts look to the nonexhaustive Daubert factors

  to evaluate whether the underlying reasoning or methods of an expert’s testimony are reliable. These

   include “(1) whether the expert’s theory or technique can be or has been tested; (2) whether the theory

   or technique has been subjected to peer review and publication; (3) the known or potential rate of error

   of the challenged method; and (4) whether the theory or technique is generally accepted in the relevant

   scientific community.” Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 593-94 (1993). But still,

  these factors are not always applicable, and a court has “broad latitude” to decide how “to determine

   reliability” and in its “ultimate reliability determination.” Kumho, 526 U.S. at 141-42. The court must

   be careful to focus “solely on principles and methodology” and “not on the conclusions that they

   generate.” United States v. Hodge, 933 F.3d 468, 477 (Sth Cir. 2019) (quoting Daubert, 509 USS. at

   595). Even though the court is the gatekeeper, “the rejection of expert testimony is the exception rather

   than the rule.” United States v. Perry, 35 F.4th 293, 330 (Sth Cir. 2022) (quoting Puga v. RCX Sols.,

  Inc., 922 F.3d 285, 294 (Sth Cir. 2019)). The Court’s core role is to ensure that only reliable and relevant

   evidence reaches the jury. Puga, 922 F.3d at 293.
Case 2:19-cv-00077-Z-BP           Document 134         Filed 03/26/25       Page 8 of 19       PageID 3399


           ANALYSIS

           I. Objection 1: The Magistrate Judge’s Failure to Find That the Second Round of Shots
              Were Fired “when the sedan began to move away from Coborn”

           Defendants first object to the Magistrate Judge’s characterization of the shot division. They

   argue that the Fifth Circuit divided the shots into two groups: (1) the shots fired “while Coborn was

   standing in front of the stationery [sic] vehicle” and (2) the shots fired “when the sedan began to move

   away from Coborn.” ECF No.         124 at 5 (quoting Baker, 68 F.4th at 245). They aver that this

   “Te]ssentially” means the shots should be divided into those fired “before the car moved and after the

   car moved.” Jd. They object to the Magistrate Judge’s “finding that the second round of shots were shots

   the officers ‘fired at [Baker] as the car was moving away from Coborn.”” /d. (alteration in original)

   (quoting ECF No. 123 at 2). They believe that this “analysis misses the shots fired while Coborn stood

   in front and Baker used the car as a deadly weapon against Coborn.” Jd. Thus, they argue, the Magistrate

   Judge’s reliance on cases that provide notice to an officer that he may not shoot at a fleeing vehicle if

   the vehicle is not used as a deadly weapon is incorrect.

           The Magistrate Judge did find the second round of shots were fired when the sedan began to

   move away from Coborn. See, e.g., ECF No. 123 at 6 (“As to the second round of shots, fired after

   Baker’s car had begun moving        past Defendants....”);   id at 2. Defendants’     objection that the

   Magistrate Judge’s analysis “misses the shots fired while Coborn stood in front and Baker used the car

   as a deadly weapon against Coborn” merely illuminates one of the factual disputes precluding summary

   judgment here: whether Baker was using the vehicle as a deadly weapon against Coborn. The Fifth

   Circuit explicitly noted this material dispute. It said “there are significant factual disputes about the

   manner in which the incident took place.... The facts here—viewed in the light most favorable to

   plaintiffs—show that Baker attempted to drive away from Coborn.” Baker, 68 F.4th at 251 (emphasis
Case 2:19-cv-00077-Z-BP           Document 134          Filed 03/26/25           Page 9 of 19     PageID 3400


   added). Thus, “a reasonable factfinder could determine that the officers acted unreasonably when they

   fired the second round of shots.” Id. (emphasis added).

           Here, the Magistrate Judge made the very finding Defendants dispute. Even more, he relied on

   cases that, at least in part, the Fifth Circuit relied on. See, e.g., Hathaway v. Bazany, 507 F.3d 312 (Sth

   Cir. 2007); Harmon v. City of Arlington, 16 F.4th 1159 (Sth Cir. 2021); Lytle, 560 F.3d 404. Defendants

   protest that the Fifth Circuit held it was incorrect to rely on cases that did not have a vehicle used as a

   deadly weapon. ECF No. 124 at 5. But the Fifth Circuit only held that for the first round of shots—not

   the second. See Baker, 68 F.4th at 246-47. Instead, the Fifth Circuit itself relied on cases for the second

   round of shots where a vehicle had ceased being used as a deadly weapon. Jd. at 249-50 (analyzing

   Lytle, 560 F.3d 404).

           Defendants’     First Objection is OVERRULED           because the Magistrate Judge (1) made

   Defendants’ sought finding on the second round of shots, (2) he relied on the same cases the Fifth Circuit

   did, and (3) he properly did not interpret the facts in the movant’s favor.

           II. Objection 2: The Magistrate Judge’s Conclusion                That    the   Law   Was   Clearly
               Established for the Second Round of Shots

           Defendants object to the Magistrate Judge’s finding that they are not entitled to qualified

   immunity because, at the time of the shooting, they were on notice that they “may not use deadly force

   against a person who was fleeing from the officer and did not pose a sufficient threat of harm or

   immediate danger to the officers or others.” ECF No. 123 at 11. First, they argue that the Magistrate

   Judge stated the law “too generally.” ECF No. 124 at 6. He did so because he failed to rely on a case

   that “squarely governs the case here.” Mullenix v. Luna, 577 U.S. 7, 13 (2015) (emphasis omitted)

   (quoting Brosseau v. Haugen, 543 U.S. 194, 201 (2004)). Second, they argue that it is improper to rely

   on any case where the car was not used as a deadly weapon. Third, they argue that the Magistrate       Judge
Case 2:19-cv-00077-Z-BP          Document 134          Filed 03/26/25        Page 10 of 19        PageID 3401


   relied on some cases released after the events in question in this case. And fourth, they argue the

   Magistrate Judge impermissibly relied on out-of-circuit cases.

           First, the Magistrate Judge did not state the law too generally. Courts have long recognized that

   there needs to be “‘a fairly similar factual situation.” Doe v. Bonath, 705 F. Supp. 3d 690, 721 (W.D.

   Tex. 2023). But the exact same facts need not exist. The Supreme Court has held that “the very action

   in question” does not need to have been held unlawful previously. Anderson, 483 U.S. at 640. Instead,

   the law is “clearly established only where there is a sufficient factually-similar precedent such that

   ‘every reasonable official would understand that [the conduct] violates that right.” Reyna v. Garza, 569

   F. Supp. 3d 567, 586 (S.D. Tex. 2021) (alteration in original) (emphasis added) (quoting Anderson, 483

   USS. at 640). An exact factual duplicate is not required because the core principle is whether the officer

   had “fair warning” that his conduct would be violating a right. Kinney v. Weaver, 367 F.3d 337, 350

   (5th Cir. 2004). In fact, “notable factual distinctions between the precedents relied on and the cases then

   before the Court” can exist if the caselaw “gave reasonable warning that the conduct then at issue

   violated constitutional rights.” Hope v. Pelzer, 536 U.S. 730, 740 (2002) (quoting United States v.

   Lanier, 520 U.S. 259, 269 (1997)). In his “clearly established’ analysis, the Magistrate Judge did not

   state the law too generally because an exact factual analog need not exist if he relied upon cases with

   sufficiently similar facts.

            Second, as explained, Defendants’ objection that the Magistrate Judge relied on cases where a

   car may not have been used as a weapon rings hollow. The Fifth Circuit only explained that those cases

   are unhelpful when analyzing the first round of shots—not the second. The Fifth Circuit relied on one

   of the same cases Defendants object to here. See ECF No. 124 at 6 (objecting to the use of Lytle v. Bexar

   County); Baker, 68 F.4th 249-50 (relying on Lytle v. Bexar County). The Magistrate Judge did not err




                                                       10
Case 2:19-cv-00077-Z-BP             Document 134         Filed 03/26/25       Page 11 of 19        PageID 3402


   in relying on other cases where a car may not have been used as a weapon because the Fifth Circuit did

   likewise.

               Third, Defendants object to the Magistrate Judge citing cases released after the events in

   question here. See Morrow v. Meachum, 917 F.3d 870, 880 (Sth Cir. 2019) (rejecting use of a case

   decided after the at-issue events); Anderson, 483 U.S. at 639 (explaining the “legal rules” must have

   been “‘clearly established’ at the time [the official action] was taken’). Defendants highlight three cases

   the Magistrate Judge cited or used that were released after the events here. See, e.g., Edwards v. Oliver,

   31 F.4th 925 (5th Cir. 2022); Poole v. City of Shreveport, 13 F.4th 420 (5th Cir. 2021); Trevino v.

   Trujillo, 756 F. App’x 355 (Sth Cir. 2018). Defendants are correct that the Magistrate Judge should not

   base his analysis on these cases. But he did not. None of the Magistrate Judge’s analysis rested on any

   of these cases and he did not analyze any of them. Rather, he only included them to note that Plaintiffs

   cited them in their argument. If the Magistrate Judge erred in including them, it did not affect his

   conclusion or recommendation.

               Fourth, Defendants object that the Magistrate Judge cited out-of-circuit cases. They argue that

   the out-of-circuit cases do not establish a “robust consensus of persuasive authority” on the question.

   Morgan v. Swanson, 659 F.3d 359, 382 (Sth Cir. 2011) (internal quotation omitted). But again, whether

   they do or not, the Magistrate Judge did not rely on them for his conclusion or recommendation. Rather,

   again, he only included them to note that Plaintiffs cited them in their argument “‘to show a healthy

   consensus of authority that officers could not lawfully fire on a vehicle that was not an immediate risk

   of harm to them or others.” ECF No. 123 at 13. Instead, the Magistrate Judge concluded that the “law

   in the Fifth Circuit was clearly established as of February 21, 2018, that it was a constitutional violation
Case 2:19-cv-00077-Z-BP            Document 134           Filed 03/26/25      Page 12 of 19        PageID 3403


   to shoot a person who was fleeing the scene in a motor vehicle, where the driver posed no immediate

   threat to the officers or others.” Jd. (emphasis added).

           Accordingly, Defendants’ second objection is OVERRULED.

           II. Objection 3: The Magistrate Judge’s Conclusion That a Factual Dispute Exists About
                Which Officer Seized Baker

           Defendants object to the Magistrate Judge’s conclusion that a factual dispute exists about which

   officer seized Baker. They argue that because the Magistrate Judge relied on the opinion of Plaintiffs’

   expert Michael Ybanez, the Magistrate Judge created a fact issue where none existed before. Further,

   they claim that this is a case “where the videos speak for themselves.” ECF No. 124 at 9. They

   surprisingly claim that the videos illuminate which officer shot Baker. Because, they argue, “Coburn

   [sic] is on the driver’s side of the vehicle when the last two shots are fired, not in a position where he

   could shoot Baker in the back,” then McHugh must have shot Baker. Jd. at 9-10.

           This is not a case where the videos clearly show which officer shot Baker. The Fifth Circuit,

   from the videos and other evidence before it, concluded “‘it is unclear which officer fired the shot that

   killed Baker, and it is clear that both officers shot at the rear of the sedan.” Baker, 68 F.4th at 248; see

   also id. at 244 n.4 (“‘Nevertheless, it is otherwise unclear from the evidence which officer fired the fatal

   shot or the shots that struck the car from the rear.”’).

           After the Fifth Circuit found a factual dispute, the parties presented additional expert evidence.

   See ECF Nos. 91, 92, 95. Plaintiffs presented one expert who concluded that McHugh probably shot

   Baker and one that concluded Coborn probably shot Baker. In response, Defendants boldly asserted the

   parties agreed that McHugh shot Baker in their second motion for summary judgment. ECF No. 97

   at 11-14. But Plaintiffs did not agree. See ECF No. 103 at 25—28. They pointed to one expert witness

   who only opined McHugh probably shot Baker and the other, Mr. Ybanez, who opined Coborn did.




                                                          12
Case 2:19-cv-00077-Z-BP          Document 134          Filed 03/26/25        Page 13 of 19        PageID 3404


   Even more, Plaintiffs pointed to the passenger’s testimony who recalled Baker said he was shot only

   after McHugh had ceased firing. ECF No. 103 at 38.

           Regardless of whether the Magistrate Judge should have considered Mr. Ybanez’s opinion or

   not (more on that next), the Magistrate   Judge did not err in recognizing a fact issue existed about which

   officer seized Baker. The jury could decide to credit the passenger’s testimony that contradicts

   Defendants’ position. Or the jury could conclude Plaintiffs’ one expert who thought it more probable

   McHugh shot Baker did not conclusively resolve the factual dispute the Fifth Circuit found from the

   evidence and videos. If the Magistrate Judge did not err in relying on Mr. Ybanez’s expert opinion, then

   his view that Coborn shot Baker would conflict with Plaintiffs’ other expert who opined the opposite.

           Defendants argue Plaintiffs cannot create factual disputes to defeat a summary judgment

   motion. They cite to a previous opinion of this Court. In that opinion, this Court rejected clearly

   contradicting evidence from the same witness which was “without explanation.” Ovaile v. United

   Rentals (N. Am.), Inc., No. 2:18-CV-211, 2021 WL 3022905, at *6 n.8 (N.D. Tex. July 16, 2021). That

   is not the case here. Rather, Plaintiffs’ experts differ because they have differing views on a challenging

   factual question. Their differences are with explanation because a range of investigators and experts

   have been unable to resolve the dispute up to this point.

           Defendants are correct that a party may not “manufacture a dispute of fact merely to defeat a

   motion for summary judgment.” Doe ex rel. Doe v. Dall. Indep. Sch. Dist., 220 F.3d 380, 386 (Sth Cir.

   2000)   (rejecting a factual dispute when a     single witness   offered testimony    in an affidavit that

   contradicted his testimony from three years prior). But this so-called “sham affidavit” doctrine typically

   prevents “a party who has been examined at length on deposition” from “rais[ing] an issue of fact simply

   by submitting an affidavit contradicting his own prior testimony.” /d. (quoting Perma Rsch. & Dev. Co.

   v. Singer Co., 410 F.2d 572, 578 (2d Cir. 1969)); see also FED. R. Civ. P. 56(h); Powell v. Dall. Morning
Case 2:19-cv-00077-Z-BP            Document 134           Filed 03/26/25     Page 14 of 19        PageID 3405


   News L.P., 776 F. Supp. 2d 240, 246 (N.D. Tex. 2011) (“A court cannot consider an affidavit or

   declaration that contradict prior testimony or admissions for the purposes of creating a fact issue because

   it is not competent summary judgment evidence.”). The “sham affidavit” doctrine does not prevent a

   material factual dispute from existing when one party has multiple experts with conflicting views.

           Defendants’ objection is thus OVERRULED because the Magistrate Judge properly found a

   genuine dispute of material fact as to which officer shot Baker.

           IV. Objection    to     Magistrate   Judge’s     Recommendation      to   Overrule    Defendants’
               Objection to Plaintiffs’ Summary Judgment Evidence

           Finally, Defendants object to the Magistrate Judge’s recommendation that the Court overrule

   Defendants’ objection (ECF No. 108) to Plaintiffs’ expert report from Mr. Ybanez. ECF No. 125.

   Defendants primarily argue that Mr. Ybanez offers a “conclusory and speculative statement” that

   Coborn more likely shot Baker than McHugh because Coborn fired more eligible shots than McHugh.

   ECF No. 125 at 1-2. They aver that Mr. Ybanez failed to “sufficiently develop and explain the analytical

   link between his experience, the reports, and the information upon which he relied” in reaching this

   conclusion. /d, at 2. They contend that “the fails to explain why the data he relies upon supports his

   opinion and conclusions.” Jd.

           Plaintiffs responded to Defendants’ original objection. ECF No. 110. They first note that

   Defendants’ objection is untimely. Even if it were timely, they argue Mr. Ybanez utilized reliable

   evidence in his analysis, and that he came to reliable conclusions with a reasonable degree of probability

   because he explained his experience and reliably analyzed the scene. ECF No. 110 at 18-28.

           First, Defendants’ objection is likely untimely. The Scheduling Order governing this case set

   July 1, 2024, as the deadline for “Motions Regarding Expert Witnesses.” ECF No. 90 at 3. These

   motions challenge the “qualifications or competency of experts,” i.e., Daubert motions. /d. Defendants

   need not explicitly ground their objection in Daubert. It is enough that their objection regards an
Case 2:19-cv-00077-Z-BP           Document 134          Filed 03/26/25         Page 15 of 19        PageID 3406


   expert witness and challenges his qualifications or competency. In Maxwell v. Jenkens & Gilchrist,

   P.C., this district rejected an objection “challenging and objecting to” an expert because the expert

   had never “personally examined” the subject and his opinion was allegedly “without factual

   foundation” after it was filed late. No. 3:05-CV-402, 2006 WL 8437326, at *7 (N.D. Tex. Apr. 27,

   2006). Defendants make much the same arguments here. They challenge Mr. Ybanez’s report in

   part because his opinion “is not supported by reliable facts” and he did not personally “inspect[]

   the scene or car, nor... take measurements or make calculations.” ECF Nos.               108 at 4, 125 at 2.

   Defendants do not argue to modify the scheduling order nor explain their failure to comply. They

   had five months to challenge Mr. Ybanez’s expert report. See ECF No. 110 at 19 n.56 (explaining

   Mr. Ybanez’s “report was disclosed five months before the July                1, 2024 motion deadline”).

   Instead, Defendants filed an objection to Mr. Ybanez’s report two months and eight days late and

   only after Plaintiffs argued from it extensively in their response to Defendants’ second motion for

   summary judgment. See ECF No. 103. Accordingly, Defendants’ objection to Mr. Ybanez’s report

   is overruled. Queen Trucking, Inc. v. Gen. Motors Corp., No. 1:06-CV-052, 2007 WL 4458918,

   at *2 (N.D. Tex. June 8, 2007).

           However, Defendants’ objection “would fail even if it were not untimely.” /d. Federal Rule

   of Evidence 702 permits expert testimony if it is “more               likely than not that” the expert’s

   (1) “scientific, technical, or other specialized knowledge will help the trier of fact to understand the

   evidence or to determine a fact in issue,” (2) “the testimony is based on sufficient facts or data,” (3) it is

   “the product of reliable principles and methods,” and (4) the expert’s opinion “reflects a reliable

   application of the principles and methods to the facts of the case.” FED. R. EviD. 702.

           Defendants argue Mr. Ybanez’s report fails the first element because he does not “sufficiently

   develop and explain the analytical link between his experience, the reports, and the information upon
Case 2:19-cv-00077-Z-BP            Document 134           Filed 03/26/25     Page 16 of 19        PageID 3407


   which he relied.” ECF No. 125 at 2. They argue “he fails to explain why the data he relies upon supports

   his opinion and conclusions.” /d. He fails to do so because, they argue, he does not explain sufficiently

   why he believes it is more likely Coborn fired the fatal shot than McHugh. Because he did not

   sufficiently explain, they claim his testimony is not “‘helpful to a trier of fact” and “muddies the issues

   of the case.” Jd. at 3.

            But Mr. Ybanez’ testimony meets the first element. As Defendants note, Mr. Ybanez “describes

   his data collection process and his findings in detail.” /d. at 2. The Magistrate Judge correctly observed

   Mr. Ybanez “based his opinions and conclusions on all of the other expert reports in the case and his

   lengthy experience as a homicide detective.” ECF No. 123 at 8-9. And he “emphasized the relative

   firing positions and locations of the Defendants in relation to Baker as they shot at him.” /d. at 9. Mr.

   Ybanez spends pages analyzing the video, bullet defects, angles, and firing stances to determine the

   possible trajectories of different shots. When Mr. Ybanez concluded his analysis, he opined that

   McHugh fired two shots which could have killed Baker—and that Coborn fired five shots which could

   have killed Baker. ECF No. 104-20 at 17-24, 24 (“‘Thus, up to five (5) of Officer Coborn’s shots were

   fired from a position where they could have struck Mr. Baker in the mid-back, whereas only two (2) of

   Officer McHugh’s shots could have possibly done so.”). Of the two “candidate” shots from McHugh,

   Mr. Ybanez was “skeptical” whether they “could have achieved the required shallow angle on the lower

   half of the back of the driver’s seat” to kill Baker. Jd. at 23.

            Based on his analysis, Mr. Ybanez concludes “‘it is more likely than not that Coborn fired the

   bullet that struck Mr. Baker in the mid back.” Jd. at 24. There is no “analytical gap between the [basis

   for the expert opinion] and the opinion proffered.” State Auto. Mut. Ins. Co. v. Freehold Mgmt. Inc.,

   No. 16-CV-02255, 2019 WL 1436659, at *4 (N.D. Tex. Mar. 31, 2019) (alteration in original) (quoting

   Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997)). Mr. Ybaenz is not conclusively stating that one of
Case 2:19-cv-00077-Z-BP           Document 134        Filed 03/26/25        Page 17 of 19        PageID 3408


   Coborn’s shots hit Baker. He is only opining that it is more likely than not. After he concluded his

   detailed analysis, five of Coborn’s shots could have hit Baker and two of McHugh’s could have, in his

   opinion. Five is greater than two. Thus, the likeliest option is that one of Coborn’s shots hit Baker, in

   his opinion. Thus, no “great... analytical gap” exists. Jd. Mr. Ybanez analyzed the shots, narrowed

   them to seven that, in his opinion, could have been the fatal shot based upon his experience and review

   of the facts. He opined that two could come from McHugh and five from Coborn. Once he arrived at

   this juncture, simple math reveals it is more likely that one of the fatal shots was Coborn’s instead of

   McHugh’s. An expert need not bridge an analysis gap that elementary probabilities determine.

           Mr. Ybanez does not rely on five being greater than two alone to form his opinion. He also

   analyzed the officers’ stances and the trajectory angles to opine that he was “skeptical” whether

   McHugh could have fired from a sufficiently shallow angle to have fired the fatal shot at all. ECF No.

   104-20 at 23-24. But he was not fully confident enough to “‘completely rule[] . . . out” the two potential

   shots from McHugh. /d. at 23. This is another independent reason why he opined it was more likely

   than not that Coborn fired the fatal shot and not McHugh. If McHugh fired less eligible shots than

   McHugh, and of those eligible shots, McHugh’s two were each less likely based on stance, angle, and

   trajectory, then it is even more likely the fatal one came from Coborn. Mr. Ybanez’s analysis of the

   shots would be helpful to a trier of fact.

           Defendants seem to challenge the remaining elements at different points in their objection. They

   claim Mr. Ybanez’s report should be excluded because “the data upon which Ybanez relied did not

   include an inspection of the scene or car, nor did he take measurements or make calculations.” ECF No.

   125 at 2. However, Mr. Ybanez relied on photographs, measurements, and videos the Texas Rangers

   collected in their investigations. The facts an expert relies upon need not be independently admissible.

   See Factory Mut. Ins. Co. v. Alon USA L.P., 705 F.3d 518, 523 (Sth Cir. 2013). Instead, the relied-upon
Case 2:19-cv-00077-Z-BP            Document 134           Filed 03/26/25          Page 18 of 19       PageID 3409


   information need only be “the sort reasonably relied upon in the experts’ field.” Jd. Mr. Ybanez testified

   that “rely[ing] upon objective evidence such as photographs, physical evidence, videos, and audio

   records... is the accepted practice for homicide investigations specifically and police practices

   generally.” ECF No. 104-20 at 4. Thus, his report does not violate Federal Rule of Evidence 703 or the

   second element of Federal Rule of Evidence 702. And his testimony relies on reliable principles and

   methods because he used his “30 years of professional law enforcement experience, education, and

   training” to analyze the facts in detail using trajectories, stances, bullet defects, and other data to analyze

   each shot. Jd. Analyzing evidence produced by others is a “‘sufficiently reliable” method in this context.

   See Charalambopoulos v. Grammer, No. 3:14-CV-2424, 2017 WL 930819, at *16 (N.D. Tex. Mar. 8,

   2017) (finding sufficiently reliable a criminal investigator and forensic sciences consultant’s report that

   relied on others’ evidence). Finally, as explained, his report is a reliable application of the principles and

   methods to the facts.

           Mr. Ybanez’s report is relevant, reliable, and within his qualifications. To the extent Defendants

   disagree with Mr. Ybanez’s opinions, they may contest their weight at trial. Meltzer/Austin Rest. Corp.

   v. Benihana Nat'l Corp., No. A-11-CV-542, 2014 WL 1333209, at *3 (W.D. Tex. Apr. 1, 2014) (“The

   Court need not exclude an expert’s testimony            simply   because another party disagrees with its

   conclusions.”). Accordingly, Defendants’ objection to the Magistrate Judge’s recommendation that this

   Court overrule Defendants’ objection to Mr. Ybanez’s is OVERRULED.

           CONCLUSION

           All   of Defendants’     objections   to the    Magistrate   Judge’s    Findings,   Conclusions,    and

   Recommendations are overruled. The Court ADOPTS the Magistrate Judge’s Findings, Conclusions,

   and Recommendations. Accordingly, Defendants’               Second Motion for Summary         Judgment (ECF




                                                          18
Case 2:19-cv-00077-Z-BP      Document 134        Filed 03/26/25     Page 19 of 19      PageID 3410


   No. 96) is DENIED,   and Defendants’   Objection to Plaintiffs’ Summary   Judgment Evidence is

   OVERRULED.

         SO ORDERED.
                                                        A              ni
         March aw. 2025


                                                     MATHEW J. KACSMARYK
                                                       ITED STATES DISTRICT JUDGE
